
In re Disciplinary Counsel; — Other; Applying for Petition for Interim Suspension Pursuant to Rule XIX, § 19.2.
ORDER
Considering the Petition for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel, and the response thereto filed by respondent,
IT IS ORDERED that respondent, Jerome W. Dixon, show cause before a hearing committee panel appointed by the disciplinary board why this court should not place him on interim suspension pursuant to Supreme Court Rule XIX, § 19.2, when his current suspension from the practice of law in In re: Dixon, 08-1618 (La.12/2/08), 996 So.2d 1029, expires. The hearing shall be conducted on an expedited basis, and within ten days of the date thereof, the hearing committee shall file its report and recommendation in this court.
/s/ Greg G. Guidry Justice, Supreme Court of Louisiana
JOHNSON and WEIMER, JJ., would deny.
